                             Hearing Date and Time: July 16, 2021 at 11:00 a.m. (prevailing Eastern Time)


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Counsel to Advisory Trust Group, LLC,
solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                               )
 IN RE:                                                        )   Chapter 11
                                                               )
 ROCHESTER DRUG CO-OPERATIVE, INC.,                            )   Case No. 20-20230 (PRW)
                                                               )
                                Debtor.                        )   Relates to Docket No. 1372
                                                               )
                                                               )


        NOTICE OF HEARING ON MOTION OF THE LIQUIDATING TRUSTEE
        FOR ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 2004
                    AUTHORIZING THE PRODUCTION OF
                        DOCUMENTS BY M&T BANK

        PLEASE TAKE NOTICE that Advisory Trust Group, LLC, the Liquidating Trustee

(“Liquidating Trustee”) under the Debtor’s Second Amended Chapter 11 Plan of Liquidation

and the RDC Liquidating Trust Agreement, filed the Motion of the Liquidating Trustee for Entry

of an Order Pursuant to Bankruptcy Rule 2004 Authorizing the Production of Documents by

M&T Bank (the “Motion”) [Docket No. 1372].

        PLEASE TAKE FURTHER NOTICE THAT a hearing to consider the Motion shall be

held on July 16, 2021 at 11:00 a.m. (prevailing Eastern Time) before the Honorable Paul R.

Warren, United States Bankruptcy Judge, at the United States Bankruptcy Court for the Western

District of New York, United States Courthouse, 100 State Street, Rochester, New York 14614.



DOCS_LA:338654.1 75015/003
  Case 2-20-20230-PRW, Doc 1373, Filed 06/29/21, Entered 06/29/21 20:21:42,
                    Description: Main Document , Page 1 of 2
        PLEASE TAKE FURTHER NOTICE that all affidavits and memoranda in opposition

to the relief requested, if any, shall be in writing and shall be filed with the Clerk’s Office,

United States Bankruptcy Court for the Western District of New York (Rochester Division), and

served upon the undersigned counsel so as to be received no later than 72 hours prior to the

hearing to consider the Motion.


 Date: June 29, 2021                           PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Ilan D. Scharf
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                                               capacity as Liquidating Trustee of the RDC
                                               Liquidating Trust




DOCS_LA:338654.1 75015/003                     2

  Case 2-20-20230-PRW, Doc 1373, Filed 06/29/21, Entered 06/29/21 20:21:42,
                    Description: Main Document , Page 2 of 2
